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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF KANSAS
                                    AT KANSAS CITY

 NATHAN C. JONES,                                  )
                                                   )
       Plaintiff,                                  )
                                                   )
       v.                                          )    Case No: 2:19-cv-02534-CM-JPO
                                                   )
 U.S. HEALTH GROUP, INC. and US                    )
 HEALTH ADVISORS, LLC,                             )
                                                   )
      Defendants.                                  )
                                                   )



                               DISMISSAL WITH PREJUDICE
       COME NOW Plaintiff Nathan C. Jones, by and through his undersigned counsel, and

pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure hereby dismisses this

matter with prejudice, each party to bear its own costs.

                                                       Respectfully submitted,

                                                       BUTSCH ROBERTS & ASSOCIATES LLC

                                                       /s/ Christopher E. Roberts
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                                                       Attorney for Plaintiff Nathan Jones

                                CERTIFICATE OF SERVICE
       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served via the Court’s electronic filing system on April 2, 2021 to all counsel of record.


                                                       /s/ Christopher E. Roberts
